                                                                               Case 3:14-cr-00175-WHA Document 1129 Filed 12/20/19 Page 1 of 1



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                                                                          5                                IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                                                                 No. CR 14-0175 WHA
                                                                                              Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                            QUESTION RE PROBATION
                               For the Northern District of California




                                                                         12   PACIFIC GAS AND ELECTRIC                                      CONDITIONS
                                                                         13   COMPANY,

                                                                         14                   Defendant.
                                                                                                                      /
                                                                         15
                                                                         16           PG&E’s conditions of probation, among others, require the following:

                                                                         17           1.      PG&E must fully comply with all applicable laws concerning
                                                                                              vegetation management and clearance requirements, including
                                                                         18                   Sections 4292 and 4293 of the California Public Resources Code,
                                                                                              CPUC General Order 95, and FERC FAC-003-4.
                                                                         19           2.      PG&E must fully comply with the specific targets and metrics set
                                                                         20                   forth in its wildfire mitigation plan, including with respect to
                                                                                              enhanced vegetation management. Compliance with these targets
                                                                         21                   and metrics, however, will not excuse any failure to fully comply
                                                                                              with the vegetation laws as required in paragraph 1. For purposes
                                                                         22                   of this condition, the operative wildfire mitigation plan will be the
                                                                                              plan ultimately approved by the CPUC.
                                                                         23   (Dkt. No. 1040).
                                                                         24           By JANUARY 10 AT NOON PG&E shall please file a statement stating whether PG&E is
                                                                         25   in full compliance (not substantial compliance) with the above stated conditions. If not, state
                                                                         26   the extent it has fallen short.
                                                                         27   Dated: December 20, 2019.
                                                                         28                                                             WILLIAM ALSUP
                                                                                                                                        UNITED STATES DISTRICT JUDGE
